                                         Case 3:07-cv-05944-JST Document 4476 Filed 03/10/16 Page 1 of 1




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                      MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                       Case No. C-07-5944 JST

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                                        This Order Relates To:                             ORDER VACATING ORDER TO SHOW
                                  10                                                       CAUSE WHY FILINGS OF ATTORNEY
                                                                                           GEROGE COCHRAN SHOULD NOT
                                  11    ALL INDIRECT PURCHASER ACTIONS                     BE STRICKEN
                                  12
Northern District of California
 United States District Court




                                  13          On March 7, 2016, the Court ordered that attorney George Cochran show cause why the

                                  14   Court should not strike his filings in accordance with certain Civil Local Rules. See ECF No.

                                  15   4458. That same day, Mr. Cochran responded on behalf of himself and his client, objector Josie

                                  16   Saik. See ECF No. 4461.

                                  17          Good cause appearing, the Court hereby VACATES its order of March 7, 2016. The

                                  18   objections filed by attorney George Cochran will be considered. Future filings by Mr. Cochran

                                  19   should reflect that he has been admitted to appear in this case pro hac vice and comply with all

                                  20   related Civil Local Rules.

                                  21          IT IS SO ORDERED.

                                  22   Dated: March 10, 2016
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                                                                                                     JON S. TIGAR
                                  24                                                           United States District Judge

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